Case 2:24-cv-00364-AKB Document6-3 Filed 12/10/24 Page 1of2
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Filed imme,

UNITED STATES DISTRICT COURT Si#eren W. KENYON

oo CLERK, DISTRICT OF IDAHO
for the District of Idaho

Nathanael Donald Lewis
Plaintiff )
Case No: 2:24-cv-364 - AKB
)
Antony L. Blinken, in his Official capacity as ,
Secretary of State, et al.,
CERTIFICATE OF SERVICE

I, Lawrence Donald Lewis, hereby declare that on the 27" day of November 2024, I served the
five defendants and the Court, by Certified U.S. Mail. Included were to each Defendant were the
Plaintiff / Petitioners Demand for Entry of Default, with its Attachment 1, Proof of Service
affidavits. Copies of these documents were sent to:

Antony L, Blinken, Secretary of State, United States of America

Executive Office of the Office of the Legal Adviser U.S. Department of State
600 19th Street NW, Suite 5.600 Washington DC 20522

Certified mail # 7019 2970 0001 0479 9832

Merrick Garland

United States Attorney General

U.S. Department of Justice

950 Pennsylvania Avenue NW Washington, DC 20530-0001
Certified mail # 7019 2970 0001 0479 9849

Paul Peek

Director, Passport Adjudication

Executive Office of the Office of the Legal Adviser U.S. Department of State
600 19th Street NW, Suite 5.600 Washington DC 20522

Certified mail # 7019 2970 0001 0479 9856

Scott M. Miller

Executive Office of the Office of the Legal Adviser U.S. Department of State
600 19th Street NW, Suite 5.600 Washington DC 20522

Certified mail # 7019 2970 0001 0479 9863
Case 2:24-cv-00364-AKB Document6-3 Filed 12/10/24 Page 2 of 2

Celeste F.

Executive Office of the Office of the Legal Adviser U.S. Department of State
600 19th Street NW, Suite 5.600 Washington DC 20522

Certified mail #7019 2970 0001 0479 9870

Steven W. Kenyon, Clerk

United States District Court, District of Idaho
500 West Fort Street

Boise, Idaho 83714

Certified Mail # 7019 2970 0001 0479 9894

I, Lawrence Donald Lewis, hereby swear that the foregoing statement ts true, under the
penalty of perjury by the laws of the United States.

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cuter Utell Lewin Nov at f

Lawrence D. Lewis

966 Bourbon Lane
Nordman, Idaho 83848
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